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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION -- LEXINGTON

 UNITED STATES OF AMERICA,                         CRIMINAL NO. 5:20-CR-124-KKC-2
       Plaintiff,

 v.                                                               ORDER

 TAMI A. VEAL,
       Defendant.

                                             *********

       This matter is before the Court on Defendant Tami A. Veal’s motion for sentence

reduction under Amendment 821 to the Sentencing Guidelines. (DE 170.) For the following

reasons, the Court will deny the motion.

       The defendant moves for a sentence reduction pursuant to Amendment 821 to the

Sentencing Guidelines. The Court has reviewed the defendant’s record to determine if the

defendant would be eligible for relief under Amendment 821. The amendment alters the

application of the Guidelines with respect to certain offenders who (a) earned criminal history

“status points” based on commission of an offense while serving a criminal justice sentence

(Part A of Amendment 821), or (b) presented zero criminal history points at the time of

sentencing (Part B, Subpart 1). In addition, the United States Sentencing Commission voted

to give retroactive effect to these two changes.

       The Court did not apply any status points against the defendant, and the defendant

had criminal history points at the time of sentencing. Accordingly, the defendant would not be

entitled to any relief under the amendment.

       For all these reasons, the Court hereby ORDERS that the defendant’s motion (DE 170)

is DENIED.
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      This 30th day of April, 2024.




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